          Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                  v.                          :   Criminal Case No. 21-582 (CRC)
                                              :
MICHAEL A. SUSSMANN,                          :
                                              :
                       Defendant.             :


     GOVERNMENT’S OBJECTIONS TO THE DEFENDANT’S PROPOSED TRIAL
                             EXHIBITS

        The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully provides herein its Objections to the Defendant’s Proposed Trial Exhibits.

While the Government respectfully submits that certain objections will be most efficiently

addressed at trial after the Court has ruled on the parties’ motions in limine, the Government hereby

submits the following initial objections to three categories of exhibits that the defense intends to

offer at trial.

    I. Emails Relating to the Defendant’s Work on Cyber Issues for the DNC and HFA

        First, the defendant’s Exhibit List includes more than approximately 300 email chains

between and among the defendant and various FBI personnel reflecting the defendant’s work

relating to (i) the hack of the Democratic National Committee (“DNC”), and (ii) cybersecurity

issues pertaining to the Hillary for America Campaign (“HFA”).            As an initial matter, the

Government is not contesting that the defendant worked for both of those entities on cybersecurity

issues. The Government also acknowledges that certain emails reflecting the defendant’s work on

behalf of HFA on cybersecurity matters are potentially relevant and admissible insofar as the


                                                  1
         Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 2 of 8




defendant might use those emails to argue that some or all of the billing entries to HFA that the

Indictment alleges related to the Russian Bank-1 allegations were, in fact, related to work on other

matters for HFA. The Government respectfully submits however, that the Court should carefully

analyze each email that the defendant offers at trial to ensure that it is not admitted for its truth but

instead is offered for a permissible purpose, such as to prove the defendant’s state of mind or the

email’s effect on one or more of its recipients. Fed. R. Evid. 801(c); United States v. Safavian, 435

F. Supp. 2d 36, 45–46 (D.D.C. 2006). In addition, the defendant should not be permitted to offer

dozens of emails to establish such basic facts because such voluminous evidence would be

cumulative and unduly prejudicial. Fed. R. Evid. 403 (permitting courts to preclude parties from

“needlessly presenting cumulative evidence”).

       As to the dozens of communications regarding the defendant’s work regarding the DNC

hack, these emails are largely irrelevant. The defendant billed his work on that matter to the DNC,

not HFA. The Indictment alleges specifically that the defendant billed time on the Russian Bank-

1 allegations to HFA. These emails therefore do not support any inferences or arguments relating

to the defendant’s alleged billed time for the Russian Bank-1 allegations. Instead, they contain

extensive detail on collateral issues. See, e.g., Defense Ex. 306 (Email dated September 14, 2016

from FBI Special Agent E. Adrian Hawkins to Michael Sussmann, et al., stating in part, “We just

got notified by some industry personnel that some previously unreleased DNC documents were

uploaded to Virus Total today. In the files there was a contact list that I attached here with lots of

personal emails for people. Rumor is that these files are supposed to be the network share for a guy

named [named redacted] who worked IT until April 2011.”)




                                                   2
           Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 3 of 8




       To the extent the defendant is offering such emails in support of arguments that (i) the

defendant was an accomplished cybersecurity lawyer, (ii) the defendant was known and respected

at the FBI, or (iii) the defendant was concerned about, and involved in responding to, cyberattacks

carried out by the Russian Federation, such arguments are peripheral to the charged offense because

they do not concern the Russian Bank-1 allegations or the defendant’s statements to the FBI about

those allegations. The defendant’s potential arguments in this regard support, at best, the admission

of a limited quantity of these emails to establish basic facts about the defendant’s representation of

the DNC. Admitting all or most of these exhibits, however, would be highly cumulative and would

waste the jury’s time with highly-detailed evidence concerning a tangential matter (the DNC hack)

that is not at issue in this trial. Accordingly, the Government respectfully submits that the Court

should admit only a limited number of these emails that are not being offered for their truth.

   II. Notes of FBI and DOJ Personnel

       The defense also may seek to offer (i) multiple pages of handwritten notes taken by an FBI

Headquarters Special Agent concerning his work on the investigation of the Russian Bank-1

allegations, (including notes reflecting information he received from the FBI Chicago case team),

and (ii) notes taken by multiple DOJ personnel at a March 6, 2017 briefing by the FBI for the then-

Acting Attorney General on various Trump-related investigations, including the Russian Bank-1

allegations. See, e.g., Defense Ex. 353, 370, 410. The notes of two DOJ participants at the March

6, 2017 meeting reflect the use of the word “client” in connection with the Russian Bank-1

allegations.1 The defendant did not include reference to any of these notes – which were taken



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          The notes of the March 6, 2017 briefing do not appear on the defendant’s Exhibit List, but
the Government understands from its recent communications with counsel that they may intend to
offer the notes at trial.
                                                 3
           Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 4 of 8




nearly six months after the defendant’s alleged false statement – in its motions in limine. Moreover,

the DOJ personnel who took the notes that the defendant may seek to offer were not present for the

defendant’s 2016 meeting with the FBI General Counsel. And while the FBI General Counsel was

present for the March 6, 2017 meeting, the Government has not located any notes that he took there.

          The Government respectfully submits that the Court should require the defense to proffer a

non-hearsay basis for each portion of the aforementioned notes that they intend to offer at trial. The

defendant has objected to the Government’s admission of certain notes taken by FBI officials

following the defendant’s September 19, 2016 meeting with the FBI General Counsel, and the

Government has explained in detail its bases for admitting such notes. Accordingly, the defendant

should similarly proffer a legal basis to admit the notes he seeks to offer at trial. Fed. R. Evid.

801(c).

   III.      News Articles

          The defendant also seeks to offer a series of news articles at trial, including but not limited

to the following articles set forth on the defendant’s Exhibit List:




                                                    4
Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 5 of 8




                              5
         Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 6 of 8




As an initial matter, the defendant has proffered no evidentiary or factual basis to offer these various

news articles – many of which far predate the defendant’s meeting with the FBI General Counsel.

The majority of the above articles appear to relate to (i) the DNC hack, and/or (ii) Donald Trump’s

purported illicit ties to Russia. News articles regarding such matters are not themselves probative

of the charged conduct in any way. The Government will not dispute that the DNC was a victim of

the aforementioned hack, nor will it dispute that the defendant carried out significant legal work in

relation to the hack. The Government similarly will not seek to prove one way or the other whether

Donald Trump maintained ties – illicit, unlawful, or otherwise – to Russia, other than to establish

facts relating to the FBI’s investigation of the Russian Bank-1 allegations. Permitting the defense

                                                   6
         Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 7 of 8




to admit the above-listed series of news articles would amount to the ultimate “mini-trial” – of the

very sort that will distract and confuse the jury without offering probative evidence. United States

v. Ring, 706 F.3d 460, 472 (D.C.Cir.2013) (“Unfair prejudice within its context means an undue

tendency to suggest [making a] decision on an improper basis, commonly, though not necessarily,

an emotional one.”); see also Carter v. Hewitt, 617 F.2d 961, 972 (3d Cir.1980) (explaining that

evidence is unfairly prejudicial “if it appeals to the jury's sympathies, arouses its sense of horror,

provokes its instinct to punish, or otherwise may cause a jury to base its decision on something

other than the established propositions in the case.”) (citations omitted). Accordingly, this Court

should exclude the above-referenced news articles.




                                                  7
         Case 1:21-cr-00582-CRC Document 119 Filed 05/05/22 Page 8 of 8




                                       CONCLUSION

       For the foregoing reasons, the Court should sustain the above-described objections to the

defendant’s proposed trial exhibits.


                                           Respectfully submitted,

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                                               8
